        Case 2:23-cv-00474-AN       Document 23          Filed 05/26/23   Page 1 of 19




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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PENDLETON DIVISION


 JESSICA BATES,                                      Case No.: 2:23-cv-00474-AN

                                    Plaintiff,

 v.                                                     AMICI STATES’ BRIEF IN
                                                       SUPPORT OF PLAINTIFF’S
                                                      MOTION FOR PRELIMINARY
                                                            INJUNCTION
 FARIBORZ PAKSERESHT, et al.,

                       Defendants.
_____________________________________
State Amicus Brief
in Support of Plaintiff                          i
            Case 2:23-cv-00474-AN                       Document 23                Filed 05/26/23              Page 2 of 19




                                                    TABLE OF CONTENTS


INTEREST OF AMICI .................................................................................................................. 1

SUMMARY OF ARGUMENT ........................................................................................................ 2

ARGUMENT ................................................................................................................................ 3

     I.         Oregon’s LGBTQIA2S+ Oath Requirement Sidelines People of Faith
                From Society ............................................................................................................ 3

     II.        Oregon’s LGBTQIA2S+ Oath Requirement Targets and Discriminates
                Against People of Faith .......................................................................................... 7

     III.       Oregon’s LGBTQIA2S+ Oath Requirement Retaliates Against People of
                Faith .......................................................................................................................... 9

CONCLUSION ........................................................................................................................... 12




State Amicus Brief
in Support of Plaintiff                                                ii
          Case 2:23-cv-00474-AN                Document 23          Filed 05/26/23         Page 3 of 19




                                          TABLE OF AUTHORITIES
CASES

Archdiocese of D.C. v. Wash. Metro. Area Transit Auth.,
 140 S. Ct. 1198 (2020) ............................................................................................. 6

Ashcroft v. Free Speech Coalition,
 535 U.S. 234 (2002)............................................................................................... 12

Blais v. Hunter,
  493 F. Supp. 3d 984 (E.D. Wash. 2020) .............................................................. 8, 9

Bd. of Cnty. Comm’rs, Wabaunsee Cnty., Kan. v. Umbehr,
  518 U.S. 668 (1996)............................................................................................... 10

Bd. of Educ. of Kiryas Joel Vill. Sch. Dist. v. Grumet,
  512 U.S. 687 (1994)................................................................................................. 3

Brown v. Peyton,
  437 F.2d 1228 (4th Cir. 1971) ................................................................................. 1

Cantwell v. Connecticut,
  310 U.S. 296 (1940)................................................................................................. 4

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,
  508 U.S. 520 (1993)............................................................................................. 7, 8

Employment Division, Department of Human Resources of Oregon v. Smith,
 494 U.S. 872 (1990)................................................................................................. 8

Hartman v. Moore,
 547 U.S. 250 (2006)............................................................................................... 10

Hurley v. Irish-American Gay, Lesbian Bisexual Group,
 515 U.S. 557 (1995)................................................................................................. 4

Interactive Digital Software Ass’n v. St. Louis County, Missouri,
  329 F.3d 954 (8th Cir. 2003) ................................................................................. 11


State Amicus Brief
in Support of Plaintiff                                   iii
          Case 2:23-cv-00474-AN                Document 23           Filed 05/26/23         Page 4 of 19




Kendrick v. Bowen,
  657 F. Supp. 1547 (D.D.C. 1987) ............................................................................ 7

Kennedy v. Bremerton Sch. Dist.,
  142 S. Ct. 2407 (2022) ............................................................................................. 4

Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n,
 138 S. Ct. 1719 (2018) ............................................................................................. 4

Perry v. Sindermann,
  408 U.S. 593 (1972)............................................................................................... 10

Rutan v. Republican Party of Ill.,
  497 U.S. 62 (1990) .................................................................................................. 4

Sherbert v. Verner,
  374 U.S. 398 (1963)................................................................................................. 8

Texas v. Johnson,
  491 U.S. 397 (1989)............................................................................................... 10

Thomas v. Collins,
  323 U.S. 516 (1945)................................................................................................. 4

Trinity Lutheran Church of Columbia, Inc. v. Comer,
  137 S. Ct. 2012 (2017) ......................................................................................... 7, 8

Video Software Dealers Ass’n v. Schwarzenegger,
 556 F.3d 950 (9th Cir. 2009) ................................................................................. 11

W. Va. State Bd. of Educ. v. Barnette,
 319 U.S. 624 (1943)................................................................................................. 4

Wisconsin v. Yoder,
 406 U.S. 205 (1972)................................................................................................. 9

Zorach v. Clauson,
  343 U.S. 306 (1952)................................................................................................. 7


State Amicus Brief
in Support of Plaintiff                                    iv
          Case 2:23-cv-00474-AN                 Document 23           Filed 05/26/23          Page 5 of 19




STATUTES

Or. Rev. Stat. § 418.039 .............................................................................................. 6

OTHER AUTHORITIES

How to Become a Resource Parent, OREGON.GOV .......................................................... 11

James Madison, Memorial and Remonstrance (1785) ........................................................ 3

Mobeen Vaid, Can Islam Accommodate Homosexual Acts? Qur’anic Revisionism and the
 CaseofScott Kugle, 34(3) AMERICAN JOURNAL OF ISLAM AND SOCIETY (July 1, 2017).. 5

News Release, OREGON DEPARTMENT OF HUMAN SERVICES (April 6, 2023) ............... 2

Rabbi Avraham Peretz Friedman, Martial Intimacy, NISHMAT’S WOMEN’S HEALTH AND
  HALACHA ............................................................................................................... 5

William O. Douglas, Supreme Court Justice, The One Un-American Act, Speech to the
 Author’s Guild Council in New York, on Receiving the 1951 Lauterbach Award
 (Dec. 3, 1952), in XXXVIII(4) VASSAR QUARTERLY (Mar. 1953) .......................... 12




State Amicus Brief
in Support of Plaintiff                                     v
        Case 2:23-cv-00474-AN       Document 23     Filed 05/26/23   Page 6 of 19




                                   INTEREST OF AMICI

       In Oregon, anyone wishing to serve as a foster parent must swear an oath to the

Oregon Department of Human Services. The oathtaker must pledge to “respect,”

“accept,” and “support” the “sexual orientation,” “gender identity,” and “gender

expression” of foster children—a pledge that in practice means confessing an ideology

that demands everything from preferred pronoun use to chemical and surgical

alteration. Many persons of faith cannot make this pledge without violating their core

religious beliefs. So they are excluded from serving as foster parents.

       Idaho, Alabama, Arkansas, Georgia, Iowa, Kansas, Kentucky, Mississippi,

Missouri, Montana, Nebraska, South Carolina, Texas, and Virginia (“Amici States”) are

each signatories to the Interstate Compact on the Placement of Children and are directly

impacted by Oregon’s unconstitutional policy excluding, on account of their faith,

otherwise qualified and well-suited families from fostering children. Amici States who

may send children for placement in Oregon pursuant to the ICPC are concerned that

Oregon’s law systematically disqualifies many persons of faith from serving as foster

parents. Contrary to the position Oregon seems to have taken, Amici States believe that

“devotion to one’s religious beliefs is considered to make one a more ethical, intelligent,

useful member of society”—including in serving as foster parents. Brown v. Peyton, 437

F.2d 1228, 1230 (4th Cir. 1971).




State Amicus Brief
in Support of Plaintiff                     1
        Case 2:23-cv-00474-AN       Document 23      Filed 05/26/23    Page 7 of 19




       Amici States are further concerned that Oregon’s policy will creep and become

more broadly exclusionary. Today, Oregon targets people of faith applying to serve as

foster parents. Tomorrow, Oregon may disqualify countless others from public service

on account of their beliefs or speech. The more widespread policies like Oregon’s

become, the more harm they will cause to Amici States and their citizens.

       Accordingly, Amici States file this brief in support of Plaintiff Jessica Bates.

                               SUMMARY OF ARGUMENT

       Oregon has pledged that its “Child Welfare Division stands in support of

transgender, non-binary, gender-fluid and other LGBTQIA2S+ children, young people

and families, including those who are in foster care and those who have been adopted.”

News Release, OREGON DEPARTMENT               OF   HUMAN SERVICES (April 6, 2023),

https://tinyurl.com/3a8mzxus. It has made good on that pledge by adopting

administrative rules that impose another pledge requirement on foster parents: “legal

requirements” that ensure “LGBTQIA2S+” “safe and supportive environments” for

foster children. Id.

       Religious applicants like Jessica Bates cannot take the required oath while living

consistently with their deeply held religious beliefs. The good news for them is that the

First Amendment prevents governments from making them choose between their faith

and participation in society. No government can deny “religious people . . . the

opportunity to exercise the rights of citizens simply because of their religious affiliations

State Amicus Brief
in Support of Plaintiff                      2
          Case 2:23-cv-00474-AN     Document 23      Filed 05/26/23    Page 8 of 19




or commitments, for such a disability would violate the right to religious free exercise.”

Bd. of Educ. of Kiryas Joel Vill. Sch. Dist. v. Grumet, 512 U.S. 687, 698 (1994). Oregon’s law

flunks this basic precept.

         Oregon’s law also penalizes people of faith because of their beliefs. It requires

applicants to disclose their views on hotly disputed issues, and any applicant expressing

a disfavored viewpoint is promptly disqualified from participation. Of course, the First

Amendment disallows such retaliation.

         Laws like the one at issue must be sharply and quickly rebuked. Experiments on

liberty that go unchecked become strengthened by exercise and entangled in precedents.

See James Madison, Memorial and Remonstrance (1785), https://tinyurl.com/bdds5am8.

Here, it is not difficult to see the next applications of Oregon’s unconstitutional law.

Unchecked, it will spread and effectively ostracize people of faith from society. The

First Amendment fortunately exists to prevent that very thing. And its protections apply

against Oregon’s law, which must be enjoined if the First Amendment is to be given

force.

                                        ARGUMENT

 I.      Oregon’s LGBTQIA2S+ Oath Requirement Sidelines People of Faith
         From Society.

         Oregon’s requirement to ally with specific LGBTQIA2S+ views tells religious

people to take their faith and stay home. Unless they change their deeply held beliefs

and embrace a now-favored ideology, Oregon officials automatically disqualify them
State Amicus Brief
in Support of Plaintiff                       3
        Case 2:23-cv-00474-AN        Document 23    Filed 05/26/23   Page 9 of 19




from participating in Oregon’s foster system. That is classic viewpoint and religious

discrimination. The First Amendment has no tolerance for such State-imposed

orthodoxy. West Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

       Quite the opposite. The First Amendment specially shields the domain of the

mind and heart from government coercion or penalty. Rutan v. Republican Party of Ill.,

497 U.S. 62, 74-76 (1990); Thomas v. Collins, 323 U.S. 516, 531 (1945). And it does so in

overlapping and complementary ways—“doubly protect[ing]” the religious. Kennedy v.

Bremerton Sch. Dist., 142 S. Ct. 2407, 2421 (2022). The Amendment reminds

governments that Americans are free to speak or not speak; Hurley v. Irish-American Gay,

Lesbian Bisexual Group, 515 U.S. 557, 573 (1995); they’re free to hold moral convictions

and act on those convictions; Cantwell v. Connecticut, 310 U.S. 296, 303 (1940); and no

government can invade the secured jurisdiction that is a man’s conscience—not even

by measures exerting subtle pressure on the religious. Masterpiece Cakeshop, Ltd. v. Colo.

Civil Rights Comm’n, 138 S. Ct. 1719, 1731 (2018). Oregon’s law pays no heed to these

principles, and it isn’t subtle about it either.

       For example, Oregon openly directs foster parents to provide foster children

with “access to a variety of books, movies, and materials” that promote “same-gender

relationships” and to display “LGBTQ-affirming” symbols, like pink triangles,

rainbows, or ally flags—emphasizing, with bolded lettering, the directive applies

“whether or not a youth in [their] care openly identifies as LGBTQ+.” Dkt. #15-1 at

State Amicus Brief
in Support of Plaintiff                        4
       Case 2:23-cv-00474-AN      Document 23     Filed 05/26/23   Page 10 of 19




34-35. And foster parents are expressly forbidden from taking their foster children to

“religious activities” or “family gatherings” that may be “unsupportive of people with

diverse [Sexual Orientation, Gender Identity, and Expression].” Id. at 34.

      Many believers of major religions cannot accept this canon. Christians like Ms.

Bates believe that LGBTQIA2S+ ideology fundamentally rejects God as Creator. Dkt.

#1 at ¶¶ 118-63. Many Jews recognize laws that mandate male-female union, which are

“the paradigm mitzvot (commandments) because they reflect the uniquely Jewish

approach to sanctifying the physical world through mitzvah observance.” Rabbi

Avraham Peretz Friedman, Martial Intimacy, NISHMAT’S WOMEN’S HEALTH                 AND

HALACHA, https://www.yoatzot.org/intimacy/648/ (last visited May 23, 2023). And

many Muslims reject same-sex attractions as sinful. Mobeen Vaid, Can Islam Accommodate

Homosexual Acts? Qur’anic Revisionism and the Case of Scott Kugle, 34(3) AMERICAN JOURNAL

OF ISLAM AND SOCIETY,     45-97 (July 1, 2017), https://www.ajis.org/index.php/ajiss/

article/view/352/1935.

      Oregon officials aren’t winking and nodding with each other behind closed doors

to exclude persons of faith. Oregon has made it official policy that the faithful cannot

participate in a state program unless they sacrifice their convictions regarding human

sexuality. As Ms. Bates’s case demonstrates, when Oregon says foster parents must

swear “respect,” “accept[ance],” and “support,” it enforces the oath requirement and

won’t tolerate anything short of an enthusiastic alliance proved by advance pledges of

State Amicus Brief
in Support of Plaintiff                    5
       Case 2:23-cv-00474-AN       Document 23     Filed 05/26/23   Page 11 of 19




specific action. See Dkt. #15-1 at 8 (explaining basis for Ms. Bates’s disqualification was

her refusal to facilitate cross-sex hormone treatments for children). The obvious

outcome is persons of faith are excluded from the foster care system. See Blais v. Hunter,

493 F. Supp. 3d 984, 996 (E.D. Wash. 2020) (explaining that Washington’s similar

requirements “work to burden potential caregivers with sincere religious beliefs yet

almost no others”).

       But the trajectory of the law is even more alarming. Nothing limits Oregon’s

LGBTQIA2S+ oath requirement for foster parents from being broadly applied to

numerous other state services and effectively sidelining persons of faith from society.

Guardians ad litem, state medical personnel, and public school teachers all work closely

with children and cannot escape the same logic Oregon has applied against foster

parents. And no one should think that anti-discrimination laws will give Oregon any

hesitation in going after persons of faith in those fields. By statute, Oregon assures

foster-parent applicants that “an individual may not be disqualified from providing child

welfare services to a child or ward . . . [o]n the basis of . . . religion.” Or. Rev. Stat.

§ 418.039. Yet that statute did nothing to protect Ms. Bates from Oregon’s religious

intolerance.

       Whether intentional or not, Oregon’s law punishes the religious for their beliefs.

That runs counter to the whole purpose of the First Amendment, which “requires

governments     to    protect   religious   viewpoints,   not   single   them    out   for

State Amicus Brief
in Support of Plaintiff                      6
       Case 2:23-cv-00474-AN       Document 23      Filed 05/26/23   Page 12 of 19




silencing.” Archdiocese of D.C. v. Wash. Metro. Area Transit Auth., 140 S. Ct. 1198, 1200

(2020) (Gorsuch, J., respecting the denial of certiorari). Oregon would do well to

remember that Americans “are a religious people whose institutions presuppose a

Supreme Being” and that states must not “prefer[] those who believe in no religion over

those who do believe.” Zorach v. Clauson, 343 U.S. 306, 313-14 (1952). History need not

be consulted long to learn that “a society is only truly free when individuals are left free

from direct or indirect pressure to abandon their own cherished religious beliefs for

whatever set of beliefs currently holds government favor.” Kendrick v. Bowen, 657 F.

Supp. 1547, 1569-70 (D.D.C. 1987).

II.    Oregon’s LGBTQIA2S+ Oath Requirement Targets and Discriminates
       Against People of Faith.

       Ms. Bates cannot live out her faith consistently and comply with Oregon’s

LGBTQIA2S+ policies. The same is true for numerous other faithful religious

adherents. By placing a special burden on Ms. Bates based on her religious identity,

Oregon has flouted basic Free Exercise Clause protections.

       The Supreme Court has made clear that “[t]he Free Exercise Clause protects

religious observers against unequal treatment and subjects to the strictest scrutiny laws

that target the religious for special disabilities based on their religious status.” Trinity

Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012, 2019 (2017) (cleaned up). In

other words, a State may not deny an individual “a generally available benefit solely on

account of religious identity”—doing so “imposes a penalty on the free exercise of
State Amicus Brief
in Support of Plaintiff                      7
       Case 2:23-cv-00474-AN       Document 23      Filed 05/26/23    Page 13 of 19




religion that can be justified only by a state interest of the highest order.” Id. (cleaned

up).

       Here, Oregon targeted and discriminated against Ms. Bates because of her

religious beliefs. The only basis Oregon officials gave for her disqualification was her

doctrinal stance on human sexuality. See Dkt. #15-1 at 8. Moreover, the materials

Oregon provides foster parent applicants expressly denounce “religious” systems based

on certain disfavored beliefs. See Dkt. #15-1 at 34 (forbidding “religious activities” that

are “unsupportive” of “SOGIE” beliefs). There’s no question that fostering is a

“generally available benefit,” and Oregon has denied that benefit solely on account of

Ms. Bates’s religious identity. See Trinity Lutheran, 137 S. Ct. at 2019. That is why the

Court in Blais v. Hunter found a nearly identical Washington policy unconstitutional. 493

F. Supp. 3d 984, 1000 (E.D. Wash. 2020). The laws “condition the availability of

benefits upon [the applicant’s] willingness to violate a cardinal principle of her religious

faith,” which “effectively penalizes the free exercise of her constitutional liberties.”

Sherbert v. Verner, 374 U.S. 398, 406 (1963). Thus, Oregon impermissibly imposes a

penalty on the free exercise of religion. Trinity Lutheran, 137 S. Ct. at 2019.

       Oregon cannot justify its discriminatory law under Employment Division,

Department of Human Resources of Oregon v. Smith, 494 U.S. 872 (1990), either. Cleverly

crafted laws that amount to religious gerrymanders won’t survive just because they’re

drafted with facial neutrality. Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508

State Amicus Brief
in Support of Plaintiff                      8
       Case 2:23-cv-00474-AN      Document 23     Filed 05/26/23   Page 14 of 19




U.S. 520, 534 (1993). “The Free Exercise Clause protects against governmental hostility

which is masked, as well as overt.” Id. The policy and its implementing materials aren’t

covert, but regardless, as the Blais court correctly found, such “regulations and policy

operate as a religious gerrymander and are thus not neutral.” Blais, 493 F. Supp. 3d at

998. The Smith standard does not open the door for Oregon to “punish the expression

of religious doctrines it believes to be false” or to “impose special disabilities on the

basis of religious views or religious status.” Smith, 494 U.S. at 877. Oregon has done

both here, so the law should be enjoined.

       It’s important to keep in mind that enjoining the law does not prevent Oregon

from protecting children or advancing other important state interests. But if Oregon is

to “overbalance” First Amendment rights, it must demonstrate it has “interests of the

highest order.” Wisconsin v. Yoder, 406 U.S. 205, 215 (1972). It cannot burden religious

rights and hope to benefit from only rational basis review.

III.   Oregon’s LGBTQIA2S+ Oath Requirement Retaliates Against People of
       Faith.

       Oregon’s law also amounts to First Amendment retaliation. Oregon welcomed

Ms. Bates’s interest to serve as a foster parent and guided her through the application

process until she spoke the wrong message. At that point, her services were no longer

welcomed and she was immediately disqualified. The First Amendment prohibits that

type of speech retaliation.



State Amicus Brief
in Support of Plaintiff                     9
       Case 2:23-cv-00474-AN       Document 23      Filed 05/26/23    Page 15 of 19




       “[T]he First Amendment prohibits government officials from subjecting an

individual to retaliatory actions . . . for speaking out.” Hartman v. Moore, 547 U.S. 250,

256, (2006) (citation omitted). This means that a government official may not “deny a

benefit to a person because of his constitutionally protected speech”—even when “a

person has no ‘right’ to a valuable governmental benefit and even though the

government may deny him the benefit for any number of reasons.” Perry v. Sindermann,

408 U.S. 593, 597 (1972). A government need not directly prohibit speech to run afoul

of the First Amendment; it is enough if the government effort has a “deterrent, or

‘chilling,’ effect.” Bd. of Cnty. Comm’rs, Wabaunsee Cnty., Kan. v. Umbehr, 518 U.S. 668, 674

(1996) (citation omitted).

       Oregon’s law runs headlong into this First Amendment no-no. During the

application process, Oregon requires foster parent applicants to disclose their views on

LGBTQIA2S+ issues. If they take the oath and speak the right message, they’re allowed

to proceed and participate. But if they refuse the oath and speak the wrong message,

they are promptly disqualified and denied the benefit. That is textbook First

Amendment retaliation. And it also snubs “a bedrock principle underlying the First

Amendment”—that “the government may not prohibit the expression of an idea simply

because society finds the idea itself offensive or disagreeable.” Texas v. Johnson, 491 U.S.

397, 414 (1989).




State Amicus Brief
in Support of Plaintiff                      10
       Case 2:23-cv-00474-AN        Document 23      Filed 05/26/23       Page 16 of 19




       Any interest Oregon asserts in protecting minor children is insufficient. First,

Oregon does not need to exclude all religious dissenters in order to see to it that less

than 2% of children have LGBTQIA2S+-supportive placements. In fact, Oregon’s

Department of Human Services states that it “work[s] together with [foster parents]”

to “decide which children best suit [their] family and home,” and so “[b]efore a child

comes into [their] home, [foster parents] will be given information about the child to

help [them] decide if the placement is right for [them].” How to Become a Resource Parent,

OREGON.GOV,        https://tinyurl.com/yc7xwwus         (last   visited     May   17,     2023).

Accordingly, protection of children appears to be pretextual.

       Second, Oregon’s status of wards of foster children does not give it license to

engage in viewpoint discrimination. A state “cannot silence protected speech by

wrapping itself in the cloak of parental authority.” Interactive Digital Software Ass’n v. St.

Louis County, Missouri, 329 F.3d 954, 960 (8th Cir. 2003). Oregon’s overbroad

requirements—for instance, directing foster parents to expose all children to materials

that promote LGBTQIA2S+ views on the one hand and forbidding exposure to

environments unsupportive of LGBTQIA2S+ views on the other—is a blatant attempt

to “restrict speech in order to control a minor’s thoughts,” which a state may not do.

See Video Software Dealers Ass’n v. Schwarzenegger, 556 F.3d 950, 962 (9th Cir. 2009).

       A final point. Amici States are not minimizing the need to protect children.

Indeed, States are principally responsible for the welfare of their citizens. Amici States

State Amicus Brief
in Support of Plaintiff                      11
       Case 2:23-cv-00474-AN      Document 23     Filed 05/26/23   Page 17 of 19




will be amongst the first to defend laws that properly protect society’s most vulnerable.

But pretextual protective measures that have deeply corrosive veins are a cancer to

societal welfare. They warrant no deference because their aim is not legitimate

protection. And the consequences of sacrificing foundational liberties can never be

justified. First Amendment liberties are sentinels of society, safeguarding and

maintaining true citizen welfare. See William O. Douglas, Supreme Court Justice, The

One Un-American Act, Speech to the Author’s Guild Council in New York, on Receiving

the 1951 Lauterbach Award (Dec. 3, 1952), in XXXVIII(4) VASSAR QUARTERLY, 2

(Mar. 1953) (“Restriction of free thought and free speech is the most dangerous of all

subversions. It is the one un-American act that could most easily defeat us.”); Ashcroft

v. Free Speech Coalition, 535 U.S. 234, 253 (2002) (“First Amendment freedoms are most

in danger when the government seeks to control thought or to justify its laws for that

impermissible end.”). Oregon’s law cannot withstand First Amendment scrutiny.

                                     CONCLUSION

      For the foregoing reasons, Oregon’s law should be enjoined.




State Amicus Brief
in Support of Plaintiff                    12
       Case 2:23-cv-00474-AN   Document 23   Filed 05/26/23   Page 18 of 19




Respectfully Submitted,

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State Amicus Brief
in Support of Plaintiff               13
       Case 2:23-cv-00474-AN     Document 23    Filed 05/26/23   Page 19 of 19




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State Amicus Brief
in Support of Plaintiff                  14
